Case 2:18-cv-01526-JEO Document 1 Filed 09/18/18 Page 1 of 10            FILED
                                                                2018 Sep-18 PM 02:50
                                                                U.S. DISTRICT COURT
                                                                    N.D. OF ALABAMA
Case 2:18-cv-01526-JEO Document 1 Filed 09/18/18 Page 2 of 10
Case 2:18-cv-01526-JEO Document 1 Filed 09/18/18 Page 3 of 10
Case 2:18-cv-01526-JEO Document 1 Filed 09/18/18 Page 4 of 10
Case 2:18-cv-01526-JEO Document 1 Filed 09/18/18 Page 5 of 10
Case 2:18-cv-01526-JEO Document 1 Filed 09/18/18 Page 6 of 10
Case 2:18-cv-01526-JEO Document 1 Filed 09/18/18 Page 7 of 10
Case 2:18-cv-01526-JEO Document 1 Filed 09/18/18 Page 8 of 10
Case 2:18-cv-01526-JEO Document 1 Filed 09/18/18 Page 9 of 10
Case 2:18-cv-01526-JEO Document 1 Filed 09/18/18 Page 10 of 10
